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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION

UNITED STATES OF AMERICA,
ex rel. ROBERT V. SMITH,

     Plaintiff,

v.                                                    Case No. 3:20cv3678/MCR/EMT

JAY A. ODOM; OKALOOSA COUNTY,
BOARD OF COMMISSIONERS,

     Defendants.
                                                      /

                                            ORDER

        This case was filed on February 26, 2020 by Plaintiff-Relator Robert V. Smith

on behalf of the United States of America, pursuant to the False Claims Act, 31 U.S.C.

§§ 3729 et seq. The case has been under seal pending a determination by the United

States Attorney as to whether the United States (“the Government”) would intervene.

The Government has filed a Notice of Election to Decline Intervention. See ECF No.

7. Thus, the case is due to be unsealed as instructed below and the Plaintiff permitted

to proceed.

        Accordingly:

        1.        The Clerk is directed to unseal the Complaint and the Relator must serve
                  it on the Defendants within 21 days of the date of this Order.

        2.        All other contents of the Court’s file in this action will remain under seal
                  and not be made public or served on the Defendants, except for this Order,
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           the Government’s Notice of Election to Decline Intervention, ECF No. 7,
           and all documents filed after the date that the Government’s notice, ECF
           No. 7, was filed.

     3.    The parties are directed to serve all pleadings and motions filed in this
           action, including supporting memoranda, on the Government, as provided
           for in 31 U.S.C. § 3730(c)(3). The Government may order any deposition
           transcripts and is entitled to intervene in this action for good cause at any
           time.

     4.    The parties must serve all notices of appeal on the Government.

     5.    All orders of this Court must be sent to the Government.

     6.    Should the Relator or Defendants propose that this action be dismissed,
           settled, or otherwise discontinued, the Court will solicit the Government’s
           written consent before ruling or granting approval. See 31 U.S.C.
           § 3730(b)(1).

     DONE AND ORDERED, on this 2nd day of December, 2020.

                               M. Casey Rodgers
                               M. CASEY RODGERS
                               UNITED STATES DISTRICT JUDGE




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